
JUSTICE WECHT, Dissenting.
The instant Petition for Allowance of Appeal raises legal issues that implicate the decision that the Supreme Court of the United States issued in Birchfield v. North Dakota, ___ U.S. ___, 136 S.Ct. 2160, 195 L.Ed.2d 560 (2016). Because this Court has not yet addressed the impact of Birchfield upon the law of this Commonwealth, we have no binding precedent against which to test the merits of these issues, or by which to evaluate lower courts' analyses of the legal questions that arise in the wake of Birchfield.
Currently pending before this Court are several cases that necessitate our consideration of Birchfield. The legal landscape following Birchfield remains substantively unsettled, nearly any claim that implicates that decision consequently remains at least potentially viable, and this Court has elected to consider several legal issues emanating from the Birchfield decision. Under these circumstances, I would not deny allocatur in this case or any other that depends in whole or in part upon an analysis of Birchfield. We are ill-advised conclusively to foreclose the possibility of further review until such time as this Court can provide a clear, definitive, and precedential articulation of what Birchfield means for Pennsylvania law.
I respectfully dissent from the Court's denial of allocatur, as I would hold this petition in abeyance pending further developments.
Justice Donohue joins this dissenting statement.
